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              THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


AUTOSCRIBE CORPORATION            §
                                  §
    Plaintiff                     §        Case No. 1:24-cv-04282-SCJ
                                  §
    v.                            §        JURY TRIAL DEMANDED
                                  §
M&A VENTURES, LLC                 §
                                  §
    Defendant.                    §


 M&A VENTURES LLC’S RESPONSE TO PLAINTIFF’S OBJECTIONS
           TO CLAIM CONSTRUCTION ORDER
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I.    INTRODUCTION

      The parties and the Special Master have expended considerable time and

resources on the construction of several claim terms contained in the Asserted

Patent, U.S. Patent No. 11,620,621 (“the ’621 Patent”). After over a hundred pages

of briefing and hours of oral argument, the Special Master rendered his Report (Dkt.

154), to which M&A does not object. Autoscribe objects to only one finding—the

construction of “payment amount.”

      Each of the independent claims of the ’621 Patent—which purportedly

describes methods and systems for securely processing electronic payments—recites

processing a payment by “obtaining the payment amount and forwarding at least a

portion of the payment amount” to the payee. See ’621 Patent at Claim 1. Because

the ’621 Patent inconsistently uses the phrase “payment amount,” M&A proposed a

construction that clarifies “payment amount” means money in the “obtaining and

forwarding” limitation. The Special Master agreed with M&A, rejecting

Autoscribe’s argument that “payment amount” meant information about the value

of a given transaction.

      The “obtaining and forwarding” term is the only claim term for which

Autoscribe proposed its own construction. In objecting to the Special Master’s

Report, Autoscribe has withdrawn from this initial claim construction position under

the guise of “plain and ordinary meaning.” It is now Autoscribe’s position that the



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claim term need not be construed beyond its plain and ordinary meaning— so long

as the plain and ordinary meaning of “payment amount” is understood to be

information, not money. There is no evidence that the plain and ordinary meaning

of the term is information. Accordingly, Autoscribe’s objections to the Special

Master’s Report should be rejected, and the recommended construction of the

“obtaining and forwarding” limitation—including that “payment amount” means

money—should be adopted.

II.   BACKGROUND

      The purpose of the ’621 Patent is to provide systems and methods for securely

processing credit card transactions by using tokens to replace credit card data with a

“symbolic representation” of the credit card data. ’621 Patent, 1:52-59. Tokenization

reduces potential theft of the credit card data and therefore a merchant’s costs for

securing such data. ’621 Patent, 1:49-52. Naturally, as processing the transaction is

the entire purpose behind the invention, each independent claim of the ’621 Patent

includes a “processing the payment” limitation which recites:

      [P]rocessing the payment transaction using the sensitive financial
      information by generating and transmitting an electronic request
      requesting the payment amount from the financial account, obtaining
      the payment amount, and forwarding at least a portion of the payment
      amount to the payee.

See ’621 Patent, Claim 1 (emphasis added).

      The following figure from M&A’s Markman Hearing materials demonstrates



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how the obtaining and forwarding limitations would function in practice.




Ex. A, M&A Markman Hearing Presentation Materials at 24.

        In its Infringement Contentions, Autoscribe seemed to agree that processing

a payment required actually paying the merchant. Autoscribe described its evidence

as “[s]howing that Defendant’s documentation describes the Payment API as a

service allowing users to make payments.” Dkt. 139-15, Infringement Contentions,

at 1.

        In their initial claim construction disclosures, both parties proposed

constructions for the obtaining clause and the forwarding clause of the “processing

a payment” limitation. Dkt. 98-1. The parties’ proposed constructions are included

below:

  Claim Term (1, 2, 8, 9,        Autoscribe’s Proposal        M&A’s Proposal
      15, 23, and 25)
 “obtain[ing] the [second]   “obtaining the payment        “obtain[ing] the


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 payment amount              amount and causing or           money required for the
 forward[ing] at least a     requesting at least a portion   [second] payment”
 portion of the [second]     of the payment amount to        “forward[ing] at least a
 payment amount”             be sent, directed, or           portion of the money
                             credited”                       required for the
                                                             [second] payment”
      Autoscribe did not specifically construe the “payment amount” phrase. But its

own construction required the payment amount to be “sent, directed, or credited,”

revealing that Autoscribe, too, understood “payment amount” to mean money.

Autoscribe also conceded in certain portions of its own briefing that “processing the

payment” required obtaining and forwarding money. Dkt. 141, p. 7 (“The

prosecution history makes it clear that “obtain[ing]” and “forward[ing]” a payment

amount includes money being transferred from a financial institution to the

merchant.”).

      After briefing but before the Markman Hearing, Autoscribe proposed a

revised construction for this claim term, which is included below. Again, the

construction did not specifically provide a meaning for “payment amount.”

  Claim Term (1, 2, 8, 9,       Autoscribe’s Proposal           M&A’s Proposal
       15, 23, and 25)
 “obtain[ing] the [second]   “obtaining the payment          “obtain[ing] the
 payment amount              amount and causing              money required for the
 forward[ing] at least a     or requesting at least a        [second] payment”
 portion of the [second]     portion of the                  “forward[ing] at least a
 payment amount”             payment amount to be sent,      portion of the money
                             directed, or                    required for the
                             credited transferred”           [second] payment”
      At the Markman Hearing, Autoscribe explained that under its proposed



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construction, only information—not money—would change hands. M&A argued,

and the Special Master agreed, that this construction would circumvent the entire

purpose of the invention. Autoscribe’s proposal also fails to explain how the secure

server can “forward at least a portion” of information about the value of a

transaction, as the claims would require under its proposal. The Special Master

agreed that “[n]othing in the specification or prosecution history explains how the

transaction value information could be apportioned.” Dkt. 154, p. 16. At the

Markman Hearing, counsel for Autoscribe acknowledged that the “at least a portion”

claim language reflects the fact that the secure server can keep a portion of the

payment as its fee. Ex. B, Claim Construction Tr., 70:9-71:14.

III.   ARGUMENT

       As explained above, the intrinsic evidence—including the purpose of the

invention as explained by the patent’s own specification and the claim language

itself, which requires forwarding a portion of the payment amount—makes clear that

“payment amount” as used in the obtaining and forwarding limitations means

money.

       Autoscribe cites four objections to the construction of “payment amount” in

the Special Master’s Report: 1) the claim language at issue was not added as a

response to a rejection based on that claim term; 2) a single identified statement by

prosecution counsel which Autoscribe argues does not contain an express



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disclaimer; 3) the Special Master’s construction ignores the antecedent basis

principle; and 4) the patent specification allegedly discloses embodiments where the

secure server does not obtain the money. Autoscribe’s first and second objections

misunderstand the Special Master’s Report. In particular, the Special Master found

that, in the context of the claims, specification, and prosecution history, the term

“payment amount” in the obtaining and forwarding clauses must be understood as

obtaining and forwarding actual money. Otherwise, the claims themselves, and

arguably the entire patent, are rendered meaningless. Autoscribe’s attempt to

pinpoint lack of disclaimer or definition in the very final claim amendment during

prosecution of the ’621 Patent ignores the entire bulk of evidence in the claim

language, specification, and remaining prosecution history that clearly identifies the

meaning of the claim terms. Autoscribe’s third objection hinges on the use of the

antecedent basis principle as a get-out-of-jail-free card, completely ignoring the case

law and the numerous fallacies in its own proposed construction. Autoscribe’s final

objection misapplies established claim construction canon and attempts to read out

express limitations which are included in the claim language.

             Construction of “payment amount” in the “obtaining” and
             “forwarding” clauses is necessary.

      As an initial matter, until filing its Objection to the Special Master’s Report,

Autoscribe had proposed its own construction for the claim terms “obtain[ing] the

[second] payment amount” and “forward[ing] at least a portion of the [second]


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payment amount” which are contained in claims 1, 2, 8, 9, 15, 23, and 25. See Dkt.

98, 140, 141, 152. It is only in light of the Special Master’s agreement with M&A’s

proposed construction that Autoscribe has withdrawn its prior construction and

resorted to its current “plain and ordinary” position. However, it is clear that while

Autoscribe argues that the terms need not be construed beyond their “plain and

ordinary meaning,” Autoscribe has clearly put forth a proposed “plain and ordinary

meaning”— that “payment amount” should only be understood as information about

the transaction. Conversely, M&A’s proposed construction, which was adopted by

the Special Master, construes “payment amount” as the actual money required for

payment in both the “obtaining” and “forwarding” clauses consistent with the

context of the claims and the specification’s description.

      There is a fundamental dispute between the parties regarding the meaning of

the term “payment amount” in the “obtaining” and “forwarding” clauses of the

asserted claims. Putting aside the lack of intrinsic evidence that the plain and

ordinary meaning of “payment amount” is information, it is the duty of the Court to

resolve disputes about the scope of this claim term. See Eon Corp. IP Holdings v.

Silver Spring Networks, 815 F.3d 1314, 1319 (Fed. Cir. 2016). The ultimate question

of claim construction is a legal question for the Court to resolve. Id. at 1318 (internal

citations omitted). The Federal Circuit has firmly established that a fundamental

dispute of claim scope between the parties must be decided by the Court and not left



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to the jury. See id.; see also, O2 Micro Int'l Ltd. v. Beyond Innovation Tech. Co., 521

F.3d 1351, 1361 (Fed. Cir. 2008).

       In O2 Micro, the parties presented a dispute to the district court regarding the

scope of the asserted claims, namely, “What do the patents mean when they say that

the feedback signal controls power ‘only if said feedback signal is above a

predetermined threshold’?” Id. The district court held that the term “only if” needed

no construction because it had a “well-understood definition,” and in doing so, failed

to resolve the parties’ dispute. Id. The Federal Circuit reversed the district court’s

holding because “[a] determination that a claim term ‘needs no construction’ or has

the ‘plain and ordinary’ meaning may be inadequate when a term has more than one

‘ordinary’ meaning or when reliance on a term’s ‘ordinary’ meaning does not resolve

the parties’ dispute.” Id. Where the district court failed to adjudicate the parties’

dispute regarding the proper scope of the claim term, the parties in O2 Micro had

thereafter improperly presented their claim construction arguments to the jury. Id. at

1362. The issue of claim construction is for the Court to decide, not the jury. Id.; see

also Every Penny Counts, Inc. v. Am. Express Co., 563 F.3d 1378, 1383 (Fed. Cir.

2009) (“[T]he court’s obligation is to ensure that questions of the scope of the patent

claims are not left to the jury. In order to fulfill this obligation, the court must see to

it that disputes concerning the scope of the patent claims are fully resolved.”)

(citations omitted); TNS Media Research, LLC v. Tivo Research & Analytics, Inc.,



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629 F. App’x. 916, 938 (Fed. Cir. 2015) (“[W]hen a determinative claim

construction dispute arises, a district court must resolve it.”).

      Here, the parties clearly dispute the meaning of “payment amount” in the

“obtaining” and “forwarding” clauses. Where such a fundamental dispute exists

between the parties, the Court is duty-bound to resolve the issue before presentation

to the jury. See O2 Micro, 521 F.3d at 1362. Autoscribe cannot avoid a construction

of this term by hiding behind the concept of “plain and ordinary meaning.”

             Autoscribe’s Objections misunderstand both M&A’s proposed
             construction and the Special Master’s Report.

      Autoscribe’s first objection is that the relevant claim language was added in

response to an interview between the Examiner and prosecution counsel, which

focused on subject matter eligibility under 35 U.S.C. § 101 and was unrelated to the

scope of the term “payment amount.” Dkt. 155 at 2. Here, Autoscribe too narrowly

focuses on the final amendment to the claim language, which re-added the obtaining

element and the term “amount” to the forwarding clause. It has never been M&A’s

position that this final amendment redefined the term “payment amount” or

disclaimed some claim scope which was otherwise more broadly included in the

specification. Rather, this final amendment reflects the scope of the patent as claimed

by the Patentee— that processing a payment involves the secure server obtaining

and forwarding actual money. In particular, the ’621 Patent claims a secure server

providing API functions to the merchant server that:


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Dkt. 139-11 at ASC000664. These three steps, as recited above by prosecution

counsel during prosecution, are mirrored in the language of the claim. In fact, the

obtaining element and “amount” which are, in part, the subject of this final

amendment have existed since the very first version of the patent claims. See Dkt.

139-3 at ASC000033 (“storing the financial amount information obtained from the

payer; obtaining the amount of the payment from the payer by processing the

payment using the financial account information obtained from the payer; and

forwarding at least a portion of the amount of the payment to the payee”). It has

always been the case that the Patentee was attempting to claim a secure server which

obtained and forwarded actual money.

      The context of the claim language, the specification, and the prosecution

history support this claim interpretation— that the secure server processes the

payment by “obtaining … the payment amount” and “forwarding … the payment

amount” where “payment amount” is understood as the actual money. The Special

Master’s Report includes a detailed analysis of this support. Dk. 154 at 16-17, 19-

20. For example, a comment made during the aforementioned final amendment

illuminates that there is actual money being obtained and forwarded by the secure

server. Autoscribe’s second objection actually identifies this comment, which is

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transcribed below:

      “I called this request (from the secure server to the entity that causes
      the payment amount to be transferred) an ‘electronic request’ to
      differentiate it from the ‘payment transaction instruction’ (from the
      merchant server to the secure server) described in paragraph [0041] of
      the spec and recited in the merchant server claims.”

Dkt. 139-9 at ASC00527.

      Autoscribe’s second objection merely includes this prosecution history

comment and makes the conclusory statement that “[t]he evidence clearly

demonstrates both the absence of disclaimer and the absence of any clear and

unmistakable basis for redefining the term.” Dkt. 155 at 5. As an initial matter,

Autoscribe assumes—without intrinsic support—that construing “payment amount”

to mean money constitutes redefining the term. As set forth above, this is untrue.

The very purpose of the invention and the claim language itself makes clear that

“payment amount” means money. The Special Master’s recommendation is not a

redefinition requiring evidence of disclaimer.

      Further, Autoscribe again misunderstands M&A’s argument and the Special

Master’s Report. The comment above has been discussed at length in M&A’s

briefing, by M&A at the Claim Construction Hearing, and in the Special Master’s

Report as it supports the interpretation of obtaining/forwarding the “payment

amount” as obtaining/forwarding the money. In particular, the comment by

prosecution counsel is specifically addressing the first step of the “processing a



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payment” limitation: generating and transmitting an electronic request requesting

the payment amount. See Dkt. 139-9 at ASC00527. Prosecution counsel states that

“this request (from the secure server to the entity that causes the payment amount

to be transferred)...” Id. (emphasis added). As understood directly from the final

claim language, this is a request “requesting the payment amount from the financial

account.” ’621 Patent, Claim 1 (emphasis added). Put plainly, a request is generated

by the secure server to the financial account of the payer requesting the payment

amount from the financial account of the payer and causing the payment amount to

be transferred from the financial account of the payer to the secure server. The

entity that causes the payment amount to be transferred is the financial account of

the payer. And this entity is transferring the payment amount to the secure server.

The secure server then obtains the payment amount and forwards a portion of the

payment amount to the merchant.

      M&A’s proposed construction is the only reasonable interpretation of the

claim language. There is no dispute that prosecution counsel’s comment made in

amendment makes it clear that the financial account of the payer must transfer the

payment amount to process the payment. Otherwise, no money would ever change

hands, which is the entire purpose of the invention. The financial account must

transfer the payment amount to the secure server because the claim language is clear

that the secure server then obtains and forwards a portion of the payment amount.



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      Under Autoscribe’s proposed “plain and ordinary meaning,” the payment

amount is nothing more than information about the transaction value. As such, the

secure server would “process a payment” merely by requesting the transaction value

(which it already possesses based on earlier recited limitations), obtaining the

transaction value (again, which it already possesses), and forwarding a portion of the

transaction value to the merchant (who also already possesses the value of the

transaction as the merchant). Under Autoscribe’s proposed construction, the entire

“processing the payment” element is rendered superfluous, which the Special Master

expressly sought to avoid. Dkt. 154 at 19 (citing Wasica Fin. GmbH v. Cont’l Auto.

Sys., Inc., 853 F.3d 1272, 1288 n.10 (Fed. Cir. 2017) (“It is highly disfavored to

construe terms in a way that renders them void, meaningless, or superfluous.”).

      For the reasons above, Autoscribe’s first and second objections misunderstand

the Special Master’s Report and further fail to provide any detailed analysis of how

its own “plain and ordinary” meaning could be understood within the context of the

claims and specification.

             Because it is clear from the intrinsic evidence that “payment
             amount” has different meanings throughout the claim, antecedent
             basis does not control.

      Autoscribe’s third objection—that the claim construction canon of antecedent

basis requires finding payment amount means information every time it is used in

the claim—puts form over substance. The parties agree that earlier in the claims, the



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’621 Patent uses “payment amount” to refer to information about the value of the

transaction, requiring the secure server’s software to receive, from the merchant

server, “at least one data element associated with the payer and a payment amount

from the payer to the payee.” See ’621 Patent, Claim 1.

      While the Special Master recognized that generally “a word or phrase used

consistently throughout a claim should be interpreted consistently,” this canon of

claim construction is not absolute. Phonometrics, Inc. v. N. Telecom Inc., 133 F.3d

1459, 1465 (Fed. Cir. 1998) (emphasis added). The Special Master also recognized

that the ’621 Patent does not use “payment amount” consistently in the claims and

that “where it is clear from the intrinsic evidence that the term has different meanings

at different portions of the claims, the claim term can be construed differently

throughout the claim.” Dkt. 154, p. 15 (citing Fin Control Sys. Pty, Ltd. v. OAM,

Inc., 265 F.3d 1311, 1318-1319 (Fed. Cir. 2001)).

      The fact that the earlier use of “payment amount” provides the antecedent

basis for the later use of “payment amount” does not change this analysis. “Although

we agree with the district court’s initial assumption that a single ‘claim term should

be construed consistently with its appearance in other places in the same claim or in

other claims of the same patent,’ Rexnord Corp. v. Laitram Corp., 274 F.3d 1336,

1342 (Fed. Cir. 2001), the patentee’s mere use of a term with an antecedent does not

require that both terms have the same meaning.” Microprocessor Enhancement



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Corp. v. Texas Instruments Inc., 520 F.3d 1367, 1375 (Fed. Cir. 2008) (“Indeed, the

claims’ apparent nonsensical reading under a uniform construction of “condition

code” is indicative of the ease of determining the appropriate meaning of each use

of the term from its context.”).

      It is clear, both from the structure of the claims and the intrinsic evidence, that

the term “payment amount” has different meanings at different portions of the claims

and therefore, should be construed differently throughout the claims. The Special

Master’s Report discusses in detail why “payment amount” should be interpreted

differently in the processing the payment limitation to avoid rendering the claim

language superfluous (Dkt. 154 at 19-20) or entirely incomprehensible. Id. at 16

(discussing why “payment amount” must be something that can be apportioned).

The general principle that claim terms should be interpreted consistently is not

intended to create such a nonsensical result.

      Autoscribe expends significant energy discussing the antecedent basis of the

term “payment amount” yet does not address the internal inconsistencies its own

proposed construction creates. For example, the most glaring issue created by

Autoscribe’s proposed construction is for the forwarding element of the “processing

a payment” limitation. In particular, the forwarding element requires “forwarding at

least a portion of the second payment amount.” Autoscribe is proposing that

“payment amount” can be understood as “information about the transaction” but



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does not explain how a secure server can forward a portion of information. This

question was raised in briefing, and in the Markman hearing. Yet Autoscribe has

provided no answer which is consistent with its own proposed construction. Dkt.

154 at 16 (“When discussing this issue, counsel for Autoscribe acknowledged that

the reason for the ‘at least a portion’ language in the claim is because the secure

server keeps a portion of the transactions as a fee. [Ex. B,] Claim Construction Tr.,

70:9-71:14. Autoscribe makes clear that money, rather than any transaction value

information, is being subdivided, with a portion going to the merchant and a portion

going to the operator of the secure server.”)

      Autoscribe cites no case law in support of its position that the doctrine of

“antecedent basis” requires the Court to construe all uses of a claim term

consistently with the first use of the term within the claim. As stated above, the

Special Master correctly applied the Federal Circuit’s case law permitting different

constructions, even where these different constructions would conflict with the use

of an antecedent basis, where it is clear from the intrinsic evidence that the term has

different meanings at different portions of the claims. Fin Control Sys., 265 F.3d at

1318-1319; Microprocessor Enhancement, 520 F.3d at 1375-1376 (allowing

different constructions of the same term especially when any uniform construction

would result in a “nonsensical reading” of the claim).

      The Federal Circuit has additionally held that the absence of explicit



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antecedent basis is not fatal. See Energizer Holdings, Inc. v. Int’l Trade Comm’n,

435 F.3d 1366, 1370 (Fed. Cir. 2006) (citing Bose Corp. v. JBL, Inc., 274 F.3d 1354,

1359 (Fed. Cir. 2001)) (“despite the absence of explicit antecedent basis, ‘If the

scope of a claim would be reasonably ascertainable by those skilled in the art, then

the claim is not indefinite.’”) Lack of antecedent basis cannot justify adopting

Autoscribe’s proposed claim construction, which is contrary to the context of the

claims, the specification, and the prosecution history and would result in a

nonsensical reading of the claim.

             Autoscribe misapplies the rule preventing importation of
             limitations from the specification and attempts to read out
             limitations included in the claim.

      Autoscribe’s final objection asserts that the Special Master’s proposed

construction inserts a limitation which is not called for by the specification. Dkt. 155

at 7 (citing ’621 Patent 9:12-19). However, Autoscribe’s argument ignores that the

claim language itself prescribes the method by which the secure server makes the

proceeds available to the merchant— by obtaining the proceeds from the financial

account and forwarding at least a portion of those proceeds to the merchant.

      Here, Autoscribe misapplies the rule from Phillips v. AWH Corp. The Federal

Circuit in Phillips held that a limitation from the specification cannot be imported

into the claims. Phillips v. AWH Corp., 415 F.3d 1303, 1323 (Fed. Cir. 2005) (en

banc). Here, Autoscribe argues that a limitation included in the claims must be



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removed because it is not included in the specification. It is the claims, not

specification embodiments, that define the scope of patent protection. Kara

Technology Inc. v. Stamps.com Inc., 582 F.3d 1341, 1348 (Fed. Cir. 2009).

       Further, Autoscribe is incorrect when it states the Patentee did not

contemplate that a payment would be processed by a secure server obtaining and

forwarding money. The Special Master’s report recognizes that the specification and

claim language are consistent with this interpretation. Dkt. 154 at 17 (citing ’621

Patent, 9:16-19.)

       The context of the claim language and prosecution history are unambiguous—

processing a payment, as claimed in the patent, requires the secure server obtain and

forward actual money. Autoscribe cannot attempt to broaden the claims beyond the

limitations which are expressly claimed.

IV.    CONCLUSION

       In consideration of the claim language, the specification, and the prosecution

history, the Special Master has determined how a person of ordinary skill in the art

would understand the claim terms. Autoscribe’s Objections provide no meaningful

reason why this Court should reject the Special Master’s Report nor do the

Objections support Autoscribe’s new position that the forwarding and obtaining

term needs no construction. The Court should adopt the Special Master’s

recommendation that the “obtaining” and “forwarding” terms be construed as



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“obtain[ing] the money required for the [second] payment” and “forward[ing] at

least a portion of the money required for the [second] payment.”




Dated: May 28, 2025                         /s/ Marron E. Frith
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                        CERTIFICATE OF SERVICE

      I hereby certify that counsel of record was served this Notice of Service via

the Court’s ECF system on May 28, 2025.

                               /s/ Marron E. Frith
                               Marron E. Frith




                        CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing has been

prepared in compliance with Local Rule 5.1(B) in 14-point Times New Roman font.

                               /s/ Marron E. Frith
                               Marron E. Frith




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